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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/934099284" data-vids="934099284" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt; 1 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2021 CO 80&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Francis Rudnicki&lt;/span&gt;&lt;/span&gt; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Pamela Rudnicki&lt;/span&gt;, as &lt;span class="ldml-role"&gt;parents&lt;/span&gt;, &lt;span class="ldml-role"&gt;guardians&lt;/span&gt; and &lt;span class="ldml-role"&gt;next friends of Alexander Rudnicki&lt;/span&gt;, a &lt;span class="ldml-role"&gt;minor child&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Peter Bianco&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;D.O.&lt;/span&gt; &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 19SC631&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;January 24, 2022&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="239" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="239" data-sentence-id="252" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_252"&gt;&lt;span class="ldml-cite"&gt;Case No. 18CA215&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="330" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="330" data-sentence-id="341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Rehearing&lt;/span&gt; DENIED.&lt;/span&gt;
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